

People v Boyde (2024 NY Slip Op 00563)





People v Boyde


2024 NY Slip Op 00563


Decided on February 2, 2024


Appellate Division, Fourth Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided on February 2, 2024
SUPREME COURT OF THE STATE OF NEW YORK
Appellate Division, Fourth Judicial Department

PRESENT: LINDLEY, J.P., CURRAN, BANNISTER, GREENWOOD, AND DELCONTE, JJ.


1001 KA 21-01369

[*1]THE PEOPLE OF THE STATE OF NEW YORK, RESPONDENT,
vJOHNNY BOYDE, DEFENDANT-APPELLANT. (APPEAL NO. 3.) 






FRANK H. HISCOCK LEGAL AID SOCIETY, SYRACUSE (SARA A. GOLDFARB OF COUNSEL), FOR DEFENDANT-APPELLANT.
JOHNNY BOYD, DEFENDANT-APPELLANT PRO SE.
WILLIAM J. FITZPATRICK, DISTRICT ATTORNEY, SYRACUSE (BRADLEY W. OASTLER OF COUNSEL), FOR RESPONDENT. 


	Appeal from a judgment of the Onondaga County Court (Stephen J. Dougherty, J.), rendered August 5, 2021. The judgment convicted defendant upon his plea of guilty of failure to register or verify status as a sex offender. 
It is hereby ORDERED that the judgment so appealed from is unanimously affirmed.
Same memorandum as in People v Boyde ([appeal No. 1] — AD3d — [Feb. 2, 2024] [4th Dept 2024]).
Entered: February 2, 2024
Ann Dillon Flynn
Clerk of the Court








